    Case: 1:25-cv-00868 Document #: 20 Filed: 01/29/25 Page 1 of 3 PageID #:325




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

      ORGANIZED COMMUNITIES AGAINST                  )
      DEPORTATIONS, et al.,                          )
                                                     )
                                                     )      Case No. 25-cv-868
                         Plaintiffs,                 )      The Hon. John F. Kness
                                             v.      )
                                                     )
                                                     )
       DONALD TRUMP, in his official                 )
       capacity as President of the United States, )
                                             et al., )
.                                                    )
                                                     )
                          Defendants.                )


      Plaintiffs’ Request for Leave to Withdraw Pending Motions for a
         Temporary Restraining Order and Preliminary Injunction
      Plaintiffs respectfully request that this Court permit them to withdraw their

pending Motions for a Temporary Restraining Order and Preliminary Injunction

(Doc 2 & 7). Undersigned Counsel informed Counsel for the Defendants of Plaintiffs’

intent to withdraw the pending Motions. At the time of this filing, Counsel for

Defendants indicated no objection to this request.

      Plaintiffs’ pending Motions request a court order that would prevent the

federal officials from “threatening and/or executing Chicago-based immigration

raids for the unlawful purpose of targeting and ultimately destroying the Sanctuary

City movement.” Doc. 7 at p. 17. On Sunday, January 26, 2025, the Defendants

launched what appear to be ongoing Chicago-based immigration enforcement raids.

Doc. 9-1 at p.3. In short, the status quo has changed since Plaintiffs filed their
    Case: 1:25-cv-00868 Document #: 20 Filed: 01/29/25 Page 2 of 3 PageID #:326




complaint and request for emergency relief. While Plaintiffs’ factfinding regarding

the federal government’s Chicago-based immigration enforcement remains ongoing,

the changed circumstances have shifted the scope of any relief to which Plaintiffs

may be entitled .

      Plaintiffs make the request to withdraw their pending Motions with reasoned

consideration and appreciation for the resources this Court has already expended on

this matter. By withdrawing their pending Motions, Plaintiffs intend to conserve

resources for both the Court and the Parties. Plaintiffs also intend to ensure that

any future requests for emergency relief will be informed by the current status of

Chicago-based immigration efforts.

      For the reasons stated more fully above, the Plaintiffs respectfully request

leave to withdraw their pending motions for emergency relief, and that the Court

strike all attendant briefing deadlines and hearing dates.




Dated: January 29, 2025                    Respectfully Submitted,


                                            /s/ Sheila A. Bedi
                                            Sheila A. Bedi
                                            Eliana Green
                                            Community Justice and Civil Rights
                                            Clinic
                                            Northwestern Pritzker School of Law
                                            375 E. Chicago Ave.,
                                            8th Floor Chicago, IL 60611
                                            Phone: 312-503-2492
                                            Sheila.bedi@law.northwestern.edu

                                            Sejal Zota*
                                            Dinesh McCoy*
Case: 1:25-cv-00868 Document #: 20 Filed: 01/29/25 Page 3 of 3 PageID #:327




                                      Daniel Werner*
                                      Just Futures Law
                                      1629 K Street N.W., Suite 300
                                      Washington, DC 20006
                                      Phone: (617) 812-2822
                                      sejal@justfutureslaw.org
                                      dinesh@justfutureslaw.org
                                      daniel@justfutureslaw.org
                                     *pro hac vice application forthcoming

                                       Daniel Massoglia
                                       MK Law, LLC
                                       2020 Janice Avenue
                                       Melrose Park, IL 60160
                                       Phone: 312 545 8660
                                       dm@mklawchicago.com
